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              EXHIBIT J
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                                                                           James Daire <jdaire@yelp.com>



yelp.ai Domain Registration
Paul Moreno <roofian@aol.com>                                                 Thu, Sep 14, 2023 at 8:14 AM
Reply-To: Paul Moreno <roofian@aol.com>
To: "jdaire@yelp.com" <jdaire@yelp.com>,

 Hi James. Thank you for all the correspondence regarding Yelp.ai.
 My attorney is suggesting we appeal the recent decision (which I
 think she did already) and is also recommending other tactics that
 I am uncomfortable with. It involves dragging Yelp's name through
 the mud and I don't think that is deserved. Yelp has always been
 fair to me and has also generated a lot of business for me.

 All I ask is to be reimbursed for my out of pocket costs. No profit.
 I purchased Yelp on Sedo for $5000 plus I have about another $1000
 in legal fees. So you can have Yelp.ai today for $6000. I think this is
 fair on both ends. See the attached receipt from Sedo.

 Please keep this correspondence between you and I confidential. I will fill my
 attorney in at the appropriate time. I appreciate your consideration.

 Thank you,
 Paul Moreno
 Moreno Roofing & Solar
 1975-2023
 *48 YIB"
 Call or Text: 831-818-9453



 ----- Forwarded Message -----
 From: Paul Moreno <roofian@aol.com>
 To: "meghan@meghantheattorney.com" <meghan@meghantheattorney.com>
 Sent: Wednesday, June 28, 2023 at 02:47:18 PM PDT
 Subject: Fw: [External] Re: yelp.ai Domain Registration

 Here is the correspondence from Yelp.
 Please see below and attachment and advise.
 Thanks Meghan!

 Thank you,
 Paul Moreno
 Moreno Roofing & Solar
 1975-2023
 *48 YIB"
 Call or Text: 831-818-9453


 [Quoted text hidden]
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                 yelp purchase.png
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